Case 1:19-cv-00117-BMC Document 32-2 Filed 12/05/19 Page 1 of 2 PageID #: 831




                       Exhibit A
Case 1:19-cv-00117-BMC Document 32-2 Filed 12/05/19 Page 2 of 2 PageID #: 832


                      Time Entries for Frances Ramos, QLS Case ID XX-XXXXXXX

 Date of Service   Caseworker               Activity Details                             Time Spent
 12/04/2019        Christopher R. Newton    SJ decision                                          0.5
 07/08/2019        Christopher R. Newton    finalize and e-file Reply MOL                        1.8
 06/27/2019        Christopher R. Newton    research cases in P's opp to MSJ                     1.2
                                            MSJ- review P's opp, disc argument with
 06/26/2019        Christopher R. Newton    JI                                                      1
 06/04/2019        Christopher R. Newton    edit and file MSJ                                    3.5
 06/04/2019        Christopher R. Newton    drafting- rule 56 statement                          0.5
 06/03/2019        Christopher R. Newton    client meeting                                       0.5
 06/03/2019        Christopher R. Newton    edits/research to Memo of Law                        2.4
 05/31/2019        Christopher R. Newton    t/c to cl                                            0.3
                                            draft, edit and file ltr motion to Court
                                            asking to vacate order dismissing SOL
 05/31/2019        Christopher R. Newton    defense                                              1.4
 05/30/2019        Christopher R. Newton    reseach and drafting- MOL for MSJ                    2.6
 05/29/2019        Christopher R. Newton    review disc response from Plaintiff                  0.5
 05/13/2019        Christopher R. Newton    t/c with OC                                          0.2
 05/13/2019        Christopher R. Newton    cl meeting                                           0.2
 05/02/2019        Christopher R. Newton    t/c to cl                                            0.3
 04/19/2019        Christopher R. Newton    MSJ- Preliminary draft                               2.5
                                            initial conference, plus travel to office
 04/16/2019        Christopher R. Newton    from EDNY                                            2.4
 04/15/2019        Christopher R. Newton    drafting-discovery demands                           0.6
 04/15/2019        Christopher R. Newton    prep for initial conference                          0.4
                                            finalize and e-file joint letter & discovery
 04/11/2019        Christopher R. Newton    schedule                                             1.5
 04/10/2019        Christopher R. Newton    edits to pre-conf letter                             0.4
                                            email to OC-looming deadline for pre-
 04/10/2019        Christopher R. Newton    conference letter                                    0.3
                                            pre-conference letter- draft, email to OC
 04/04/2019        Christopher R. Newton    for comments                                         2.1
 04/02/2019        Christopher R. Newton    initial disclosure                                   1.2
 03/27/2019        Christopher R. Newton    scan & upload answer                                 0.3
 03/27/2019        Christopher R. Newton    cl meeting                                              1
 03/25/2019        Christopher R. Newton    edits to Answer                                      0.5
 03/25/2019        Christopher R. Newton    notice of appearance-draft & e-file                  0.4
 03/25/2019        Christopher R. Newton    t/c from OC                                          0.1
 03/22/2019        Christopher R. Newton    drafting answer with counterclaims                   1.7
 03/21/2019        Christopher R. Newton    case discussion with JI, fact research                  1
 03/21/2019        Christopher R. Newton    t/c to OC- left VM for Alan Smikun                   0.1
 03/20/2019        Christopher R. Newton    intake meeting with client                           1.3
                                            TOTAL                                               34.7
